 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 SAMANTHA BENNETT (NYBN 5132063)
   Assistant United States Attorney
 5
          1301 Clay Street, Suite 340S
 6        Oakland, California 94612
          Telephone: (510) 637-3680
 7        FAX: (510) 637-3724
          samantha.bennett@usdoj.gov
 8

 9 Attorneys for United States of America

10                                     UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                             OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                         ) CASE NO. CR 21-0031 JSW
                                                       )
14           Plaintiff,                                ) STIPULATION REGARDING RESTITUTION
                                                       )
15      v.                                             )
                                                       )
16   SCOTT LONG,                                       )
                                                       )
17           Defendant.                                )
                                                       )
18

19           Plaintiff United States of America, by and through its counsel of record, and defendant Scott
20 Long (“defendant”), both individually and by and through his counsel of record, Joyce Leavitt, hereby

21 stipulate as follows:

22           1.      On June 29, 2021, defendant entered a guilty plea pursuant to a plea agreement.
23           2.      In the plea agreement, defendant agreed to pay full restitution for all losses caused by the
24 offense for which he was charged in this case, and agreed that restitution will be due immediately and

25 subject to immediate enforcement. See Plea Agreement, Dkt. #20 ¶ 9.

26           3.      The Judgment, which was issued on June 30, 2021, provided: “The determination of
27 restitution is deferred until September 7, 2021. An Amended Judgment in a Criminal Case (AO 245C)

28 will be entered after such determination.” Dkt. #22.

     STIPULATION AND [PROPOSED] ORDER REGARDING RESTITUTION                                                     1
     CR 21-0031 JSW
 1          4.      The government submitted the one image of child sexual abuse material possessed by

 2 defendant to the National Center for Missing and Exploited Children (NCMEC). NCMEC responded

 3 that there is no identifying information available for the victim(s) depicted in the image.

 4          5.      Accordingly, the government is unable to identify any “individual[s] harmed as a result

 5 of a commission of a crime” under Chapter 110 of Title 18, which includes defendant’s crimes, as

 6 provided in 18 U.S.C. § 2259(c). The government is thus unable to present a claim for restitution on

 7 behalf of the victim(s) depicted in the image.

 8          6.      The parties therefore agree that the Court should amend the Judgment to reflect that no

 9 restitution will be ordered in this matter.

10          7.      The parties further jointly request that the Court vacate the restitution hearing, which is

11 currently set on September 7, 2021.

12          IT IS SO STIPULATED.

13    Dated: July 27, 2021                            STEPHANIE M. HINDS
                                                      Acting United States Attorney
14
                                                          /s/
15                                                    SAMANTHA BENNETT
                                                      Assistant United States Attorney
16                                                    UNITED STATES OF AMERICA

17
      Dated: Tuesday, July 27, 2021                      /s/
18                                                    JOYCE LEAVITT
                                                      Attorney for Defendant
19                                                    SCOTT LONG

20

21

22

23

24

25

26

27

28

     STIPULATION AND [PROPOSED] ORDER REGARDING RESTITUTION                                                       2
     CR 21-0031 JSW
 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 SAMANTHA BENNETT (NYBN 5132063)
   Assistant United States Attorney
 5
          1301 Clay Street, Suite 340S
 6        Oakland, California 94612
          Telephone: (510) 637-3680
 7        FAX: (510) 637-3724
          samantha.bennett@usdoj.gov
 8

 9 Attorneys for United States of America

10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                           OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                       ) CASE NO. CR 21-0031 JSW
                                                     )
14           Plaintiff,                              ) [PROPOSED] ORDER REGARDING
                                                     ) RESTITUTION
15      v.                                           )
                                                     )
16   SCOTT LONG,                                     )
                                                     )
17           Defendant.                              )
                                                     )
18

19           The Court having considered the stipulation of the government and the Defendant, Scott Long,
20 (“defendant”) with respect to restitution in this matter, and good cause appearing therefor, hereby finds

21 that:

22           The government has not been able to ascertain the identify of any individual victim harmed as a
23 result of a commission of a crime under Chapter 110 of Title 18, which includes defendant’s crime, as

24 provided in 18 U.S.C. § 2259(c).

25           The Court will issue an amended Judgment and Commitment Order to reflect that no restitution
26 is ordered.

27           The restitution hearing currently scheduled for September 7, 2021, is hereby VACATED.
28

     STIPULATION AND [PROPOSED] ORDER REGARDING RESTITUTION                                                    3
     CR 21-0031 JSW
 1         IT IS SO ORDERED.

 2

 3

 4    DATE                                      HON. JEFFREY S. WHITE
                                                UNITED STATES DISTRICT JUDGE
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     STIPULATION AND [PROPOSED] ORDER REGARDING RESTITUTION                    4
     CR 21-0031 JSW
